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                                   No. 23-12155


              IN THE UNITED STATES COURT OF APPEALS
                    FOR THE ELEVENTH CIRCUIT


                           AUGUST DEKKER, ET AL.,
                             Plaintiffs-Appellees,

                                         v.

  SECRETARY, FLORIDA AGENCY FOR HEALTH CARE ADMINISTRATION, ET AL.,
                       Defendants-Appellants,

On Appeal from the United States District Court for the Northern District of Florida,
                    Civil Action No. 4:22-cv-325-RH-MAF
           ________________________________________________
     BRIEF OF AMICUS CURIAE, THE TREVOR PROJECT, INC. IN SUPPORT OF
                         PLAINTIFFS-APPELLEES
          _________________________________________________
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  Suicidal Ideation, 145 Pediatrics 1 (2020), https://doi.org/10.1542/peds.2019-
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 Care (Oct. 26, 2023), https://www.thetrevorproject.org/wp-
 content/uploads/2023/02/EMBARGOED_2.28.23_The-Trevor-Project-
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                 CERTIFICATE OF INTERESTED PERSONS

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh Circuit

Rule 26.1-1, The Trevor Project states that the following persons and entities have

an interest in the outcome of the case and this appeal.

      1.        Academic Pediatric Association, Amicus

      2.        Alstott, Anne, Amicus

      3.        Altman, Jennifer, Counsel for Plaintiffs

      4.        American Academy of Child and Adolescent Psychiatry, Amicus

      5.        American Academy of Family Physicians, Amicus

      6.        American Academy of Nursing, Amicus

      7.        American Academy of Pediatrics, Amicus

      8.        American College of Obstetricians and Gynecologists, Amicus

      9.        American College of Osteopathic Pediatricians, Amicus

      10.       American College of Physicians, Amicus

      11.       American Medical Association, Amicus

      12.       American Pediatric Society, Amicus

      13.       American Psychiatric Association, Amicus

      14.       Anderson, Barrett, Counsel for Amicus

      15.       Association of American Medical Colleges, Amicus

      16.       Barday, Shireen, Counsel for Amicus


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    17.     Bardos, Andy, Counsel for Amicus

    18.     Barnes, Brian, Counsel for Amicus

    19.     Beato, Michael, Counsel for Defendants

    20.     Biomedical Ethics and Public Health Scholars, Amicus

    21.     Boergers, Kathleen, Counsel for Amicus

    22.     Boulware, Susan, Amicus

    23.     Boyden Gray PLLC, Counsel for Amicus

    24.     Bowdre, Alexander, Counsel for Amicus

    25.     Brown, Louis, Jr., Amicus

    26.     Burleigh, Clifton, Jr., Amicus

    27.     Charles, Carl, Counsel for Plaintiffs

    28.     Chriss, Simone, Counsel for Plaintiffs

    29.     Chuang, Ming, Counsel for Amicus

    30.     Clark, Kaila, Counsel for Amicus

    31.     Commonwealth of Massachusetts, Amicus

    32.     Coursolle, Abigail, Counsel for Plaintiffs

    33.     Davies, Mark, Counsel for Amicus

    34.     Debriere, Katherine, Counsel for Plaintiffs

    35.     Dekker, August, Plaintiff

    36.     District of Columbia, Amicus

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    37.     Do No Harm, Amicus

    38.     Doe, Jane, Plaintiff

    39.     Doe, John, Plaintiff

    40.     Doe, Susan, Plaintiff

    41.     Dunn, Chelsea, Counsel for Plaintiffs

    42.     Endocrine Society, Florida Chapter of the American Academy of

            Pediatrics, Amicus

    43.     Figlio, Erik, Counsel for Amicus

    44.     Florida Agency for Health Care Administration, Defendant

    45.     Florida Chapter of the American Academy of Pediatrics, Amicus

    46.     Florida Policy Institute, Amicus

    47.     Florida Voices for Health, Amicus

    48.     Gonzalez-Pagan, Omar, Counsel for Plaintiffs

    49.     Halley, Ted, Amicus

    50.     Hartnett, Kathleen, Counsel for Amicus

    51.     Helstrom, Zoe, Counsel for Amicus

    52.     Heyer, Walt, Amicus

    53.     Hinkle, Robert, U.S. District Court Judge

    54.     Hussein, Abdul-Latif, Amicus

    55.     Isasi, William, Counsel for Amicus

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    56.     Jazil, Mohammad, Counsel for Defendants

    57.     K.F., Plaintiff

    58.     Kamody, Rebecca, Amicus

    59.     Kang, Katelyn, Counsel for Amicus

    60.     Kline, Robert, Counsel for Amicus

    61.     Kniffin, Eric, Counsel for Amicus

    62.     Krasovec, Joseph, Counsel for Amicus

    63.     Kuper, Laura, Amicus

    64.     Lannin, Cortlin, Counsel for Amicus

    65.     Laudue, Jade, Plaintiff

    66.     Little, Joseph, Counsel for Plaintiffs

    67.     Marstiller, Simone, Former Defendant

    68.     Mauler, Daniel, Counsel for Amicus

    69.     McCotter, R. Trent, Counsel for Amicus

    70.     McKee, Catherine, Counsel for Plaintiffs

    71.     McNamara, Meredithe, Amicus

    72.     Meszaros, Marie, Amicus

    73.     Miller, William, Counsel for Plaintiffs

    74.     Mondry, Emily, Counsel for Amicus

    75.     Morrison, Rachel, Amicus

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    76.     National Association of Pediatric Nurse Practitioners, Amicus

    77.     Norohna, Maya, Amicus

    78.     North Central Florida Council of Child and Adolescent Psychiatry,

            Amicus

    79.     Olezeski, Christy, Amicus

    80.     Pediatric Endocrine Society, Amicus

    81.     Perko, Gary, Counsel for Defendants

    82.     Pratt, Christine, Amicus

    83.     Pratt, Joshua, Counsel for Defendants

    84.     Ramer, John, Counsel for Amicus

    85.     Reinhardt, Elizabeth, Counsel for Amicus

    86.     Richards, Jay, Amicus

    87.     Rivaux, Shani, Counsel for Plaintiffs

    88.     Rothstein, Brit, Plaintiff

    89.     Samuels, Valerie, Counsel for Amicus

    90.     Severino, Roger, Amicus

    91.     Shaw, Gary, Counsel for Plaintiffs

    92.     Societies for Pediatric Urology, Amicus

    93.     Society for Adolescent Health and Medicine, Amicus

    94.     Society for Pediatric Research, Amicus

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    95.      Society of Pediatric Nurses, Amicus

    96.      State of Alabama, Amicus

    97.      State of Arkansas, Amicus

    98.      State of California, Amicus

    99.      State of Delaware, Amicus

    100.     State of Georgia, Amicus

    101.     State of Illinois, Amicus

    102.     State of Indiana, Amicus

    103.     State of Iowa, Amicus

    104.     State of Kentucky, Amicus

    105.     State of Louisiana, Amicus

    106.     State of Maryland, Amicus

    107.     State of Mississippi, Amicus

    108.     State of Missouri, Amicus

    109.     State of Montana, Amicus

    110.     State of Nebraska, Amicus

    111.     State of New York, Amicus

    112.     State of North Dakota, Amicus

    113.     State of Oregon, Amicus

    114.     State of Rhode Island, Amicus

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      115.      State of South Carolina, Amicus

      116.      State of Tennessee, Amicus

      117.      State of Texas, Amicus

      118.      State of Utah, Amicus

      119.      State of Virginia, Amicus

      120.      Szilagyi, Nathalie, Amicus

      121.      The Trevor Project, Amicus

      122.      Thompson, David, Counsel for Amicus

      123.      Veroff, Julie, Counsel for Amicus

      124.      Veta, D. Jean, Counsel for Amicus

      125.      Weida, Jason, Defendant

      126.      World Professional Association for Transgender Health, Amicus

      127.      Zhai, Jingxi, Counsel for Amicus

      Pursuant to Federal Rule of Appellate Procedure 26.1-2, Amici Curiae The

Trevor Project certify that the CIP contained herein is complete.


                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure, The Trevor

Project, Inc. (“The Trevor Project”) states it is a nonprofit 501(c)(3) organization.




                                          x
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The Trevor Project has no corporate parent and is not owned in whole or in part by

any publicly held corporation.




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                IDENTITY & INTEREST OF AMICUS CURIAE 1

        Founded in 1998, The Trevor Project is the nation’s leading lesbian, gay,

bisexual, transgender, queer, and questioning (“LGBTQ”) youth crisis intervention

and suicide prevention organization. It is the only nationwide organization that

offers accredited, free, and confidential phone, instant message, and text messaging

crisis intervention services with an exclusive focus on LGBTQ youth. Tens of

thousands of individuals use these services every month. In FY23, The Trevor

Project’s services reached over 500,000 LGBTQ crisis contacts. By monitoring,

analyzing, and evaluating data obtained from these services, The Trevor Project

produces innovative research and insights that bring new knowledge, with clinical

implications, on issues affecting LGBTQ youth.

        The Trevor Project has a special interest in this litigation, as well as familiarity

and knowledge of the significant benefits from transgender youth receiving

necessary transgender medical care. The Trevor Project is deeply concerned that

reversing the District Court’s order granting Plaintiffs’ preliminary injunction in this

case will place adolescents and young adults at a substantially increased risk of

suicide and negatively impact their mental health, risks that are strongly and



1
 No party’s counsel authored this brief in whole or in part. No party, its counsel, or
other person contributed money intended to fund the brief’s preparation or
submission.
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consistently associated with experiencing disparate treatment based on gender

identity and being deprived access to medically necessary gender affirming care.

For these reasons, The Trevor Project has a substantial interest in this litigation.

       The authority of amicus to file this brief in support of Plaintiffs-Appellees’

Petition is pursuant to FRAP 29(a)(3). Amicus has received the consent of all parties

to file.

                          SUMMARY OF ARGUMENT
       This Court should affirm the District Court’s order enjoining Defendants-

Appellants from enforcing Florida Administrative Code 59G-1.050(7) (hereafter the

“Health Care Ban”). The Health Care Ban enacted by Florida denies transgender

Medicaid beneficiaries access to crucial medical care, by denying coverage for

gender affirming care to treat gender dysphoria. In doing so, the Health Care Ban

contradicts generally accepted professional medical standards, and fails to account

for the particular medical needs of transgender Medicaid beneficiaries, including

transgender youth who are enrolled in Medicaid. For example, the Health Care Ban

categorically prohibits Medicaid coverage for any health care service that “alter[s]

primary or secondary sexual characteristics” whenever that service is being used to

treat gender dysphoria and even though such coverage is not prohibited for cis

gender individuals. The prohibited practices include prescribing puberty-delaying



                                           2
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medication, gender-affirming hormone therapies and “[a]ny other procedures that

alter primary or secondary sexual characteristics.”2

        The Health Care Ban also poses a serious threat to the mental health and

psychological well-being of transgender Floridians. Where medically indicated,

access to pubertal suppression and hormone therapy has been demonstrated to

provide critical improvements in the mental health of transgender youth. For

example, for those who want it, gender affirming hormone therapy is associated with

a 40% decrease in depression and suicidality, in a population already at greatly

increased risk for self-harm and mental health disparities. 3 And when gender-

affirming medical treatment is medically indicated but denied, there can be grave

effects on the mental health of transgender youth and adults, including an increased

rate of suicidality. By contrast, the myriad beneficial effects of gender-affirming

medical treatment have been demonstrated through not only decades of peer

reviewed clinical research, but also The Trevor Project’s own survey data and its

daily experience in working with transgender youth and young adults. The Trevor

Project hears from transgender youth and young adults every day whose experiences

indicate how dangerous a policy like this would be for their mental health. For these



2
 Florida Administrative Code 59G-1.050(7)(a).
3
 Amy E. Green et al., Association of Gender-Affirming Hormone Therapy With
Depression, Thoughts of Suicide, and Attempted Suicide Among Transgender and
Nonbinary Youth, J. of Adolescent Health, at 5 (2021).
                                       3
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reasons, and as set forth more fully below, it is critical that the Court affirm the

District Court’s order and enjoin Defendants-Appellants from enforcing the Health

Care Ban.

      I.      ENFORCEMENT OF THIS LAW DIRECTLY HARMS MENTAL
              HEALTH AND WELL BEING CAUSING IRREPARABLE HARM.

           Denial or disruption of gender-affirming medical care can cause irreparable

physical and mental harm to transgender youth, because once an individual reaches

the age of majority, it can be too late for gonadotropin-releasing hormone analogs,

or “puberty blockers” and/or for gender-affirming hormone treatments to be fully

effective in reversing the effects of gender-incongruent puberty.4 For example, it is

difficult to reverse testosterone’s effect on deepening the voice. 5 Similarly, if a

transgender girl being treated with puberty blockers is forced to temporarily

discontinue use, endogenous puberty will resume—forcing her to go through

gender-incongruent physiological changes, such as the development of facial hair

and gonadal growth, which can be both traumatic and impossible to reverse. 6 Thus,

affirming the District Court’s decision is critical, since any disruption in care could


4
  David C. Call, Mamatha Challa & Cynthia J. Telingator, Providing Affirmative
Care to Transgender and Gender Diverse Youth: Disparities, Interventions, and
Outcomes, 23 Current Psychiatry Rep. 1, 4 (2021).
5
  Id.
6
  Annelou L.C. de Vries et al., Puberty Suppression in Adolescents With Gender
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(2011).
                                        4
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cause transgender youth to experience unwanted, traumatic, and potentially

permanent physical changes that would otherwise be preventable with appropriate

treatment.

        Hormonal intervention also leads to myriad mental health benefits. A clinical

study of puberty suppression patients demonstrated that after an average of two years

of pubertal suppression, the percentage of youth who had previously been

experiencing behavioral problems dropped from 44% to 22%, and the percentage of

those experiencing emotional problems dropped from 30% to 10%. 7 Another

clinical study on the use of gender-affirming hormone therapy found that after one

year on hormones, youth reported small improvements in anxiety symptoms, small-

to-moderate improvements in depressive symptoms, and large improvements in

body satisfaction.8 A third clinical study examined the effectiveness of gender-

affirming hormones in improving psychological well-being among transgender

youth referred to a transgender health specialty clinic, and found large improvements

in youth well-being after beginning treatment. 9 Yet another longitudinal peer-

reviewed study found improvements in depressive symptoms and quality of life



7
  Id.
8
  Laura E. Kuper et al., Body Dissatisfaction and Mental Health Outcomes of Youth
on Gender-Affirming Hormone Therapy, 145 Pediatrics 1, 5–9 (2019).
9
   Luke Allen et al., Well-being and Suicidality Among Transgender Youth after
Gender-affirming Hormones, 7 Clinical Practice in Pediatric Psychol. 302, 306
(2019).
                                          5
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among transgender youth when followed for approximately 1.5 years after beginning

either puberty suppression or gender-affirming hormone therapy.10 The research

overwhelmingly shows that the denial or disruption of access to medical treatments

from this law would cause these transgender youth harm.

      Qualitative data collected by The Trevor Project in its 2021 Survey confirms

that access to hormones and the achievement of the resulting physical changes

stemming from hormone therapy are often key to transgender young people’s

positive feelings about their gender. In response to the question, “What are things

that you do yourself that make you feel happy (or euphoric) about your gender?”,

respondents gave answers such as “Analyze what masculine features are emerging

from my hormone therapy, hearing my own voice cracks,” “Looking at my stomach

and facial hair that’s coming in,” and “Testosterone has done the most work to make

me feel better about myself.      My voice deepening and facial hair growing

especially.” 11 These responses highlight positive feelings that are unique to access

to medical care.




10
   Christal Achille et al., Longitudinal Impact of Gender-affirming Endocrine
Intervention on the Mental Health and Well-being of Transgender Youths:
Preliminary Result, Int’l J. of Pediatric Endocrinology, at 4 (2020).
11
   These qualitative responses are internal data that were gathered in the process of
preparing The Trevor Project 2021 National Survey on LGBTQ Youth Mental
Health, https://www.thetrevorproject.org/wp-content/uploads/2021/05/The-Trevor-
Project-National-Survey-Results-2021.pdf.
                                           6
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      Similarly, several adolescents reported feeling sad and gender-dysphoric

when access to medical care was delayed or denied. In response to the question

“What are things that others do that make you feel sad (or dysphoric) about your

gender?”, responses included “being too late with hormones to affect my voice,”

“being denied to transition, denied hormones,” and “The state I live in has made it

very difficult to get any kind of hormone treatment…before turning 18 years old.”12

The emphasis on medical treatment in particular makes it clear that any enforcement

of the Health Care Ban would harm these adolescents’ mental health.

      The importance of gender affirming care is particularly pronounced among

transgender and non-binary people of color and those who have particular difficulty

accessing gender affirming care, such as low-income and houseless young people.13

These subgroups already report higher rates of depression symptoms and suicide

contemplation. 14 White transgender and non-binary young people report higher

rates of having received gender-affirming hormones than transgender and non-

binary young people of color. Transgender and non-binary young people of color




12
   Id.
13
   The Trevor Project, 2023 U.S. National Survey Data Analysis Gender Affirming
Care (Oct. 26, 2023), https://www.thetrevorproject.org/wp-
content/uploads/2023/02/EMBARGOED_2.28.23_The-Trevor-Project-Research-
Brief_Black-TGNB-Youth-Mental-Health.pdf.
14
   Id.
                                        7
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reported higher rates of being unable to afford gender-affirming hormones.15

Additionally, transgender and non-binary individuals unable to meet their basic

needs reported higher rates of being unable to afford gender-affirming hormones

compared to those who were able to meet their basic needs (65% to 33%), as well as

higher rates of being very concerned about losing their gender-affirming hormones

(55% to 35%) and higher rates of not being able to receive surgery due to cost (77%

to 51%). Given these subgroup differences in access to care, transgender and non-

binary people of color and those who have particular difficulty accessing health care

are at a heightened risk of devastating and irreparable damage to their mental health

associated with barriers to gender affirming care. This is especially pronounced with

respect to Medicaid, which is often used by these communities to access necessary

care. 16

      II.     ENFORCEMENT     OF  THIS   LAW   WILL  INCREASE
              SUICIDALITY AND CAUSE IRREPARABLE HARM
            Access to medical gender-affirming care for transgender adolescents is

empirically associated with decreased suicidality.       The Trevor Project’s peer-

reviewed 2020 study found that gender-affirming hormone therapy led to almost a

40% decreased likelihood of attempting suicide in the past year among those aged




15
     Id.
16
     Id.
                                           8
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13–17.17 Another study found that approximately one year of gender-affirming

hormone therapy for adolescents led to a 75% reduction in the level of suicidality.18

Yet another peer-reviewed study published in January 2022 found that transgender

adults who had access to gender-affirming hormones between the ages of 14–17 had

60% lower odds of experiencing suicidal ideation in the previous year when

compared to transgender people who wanted hormones but never had access to

them. 19 Critically, this study also found that access to gender-affirming hormone

therapy during adolescence (ages 14–17) was associated with 30% lower odds of

past-year suicidal ideation when compared to those who accessed such treatment as

adults.20 Enforcement of the Health Care Ban would prevent Floridians from

obtaining gender-affirming hormone therapy and the corresponding benefits in

suicide prevention.

      Puberty blockers, discussed above, are not only a time-sensitive treatment for

the prevention of the physical impacts of gender-incongruent puberty—they also are

vital in reducing suicidality among transgender young people. According to a 2020

study of 20,619 transgender adults aged 18 to 36 years, transgender and nonbinary



17
   See supra note 3.
18
   See supra note 8.
19
   Jack L. Turban et al., Access to Gender-affirming Hormones During Adolescence
and Mental Health Outcomes Among Transgender Adults, 17 PLoS ONE 1, 10–11
(2022).
20
   Id.
                                          9
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adults’ use of puberty blockers during adolescence is associated with significantly

lower lifetime suicidal ideation compared to those who desired puberty blockers but

did not receive them. 21 This is true even controlling for adults who were receiving

hormone therapy at the time of the study. 22 Thus, waiting for the age of majority to

initiate gender-affirming medical treatment is not an adequate substitute for care in

adolescence, and enforcement of the Health Care Ban risks increased rates of suicide

for Florida’s transgender population. Moreover, since these medical treatments

targeted by the Health Care Ban require continuous use to be effective, even a

temporary pause in access for those who have already initiated treatment could lead

to irreversible mental and physical harms.

      The Health Care Ban would therefore likely increase suicidality, which would

have a devastating effect on an already vulnerable population. Transgender youth

and young adults are already at higher risk of suicide than their cisgender peers.

According to The Trevor Project’s 2021 National Survey on LGBTQ Youth Mental

Health, 52% of transgender and non-binary youth reported seriously considering




21
   Jack L. Turban et al., Pubertal Suppression for Transgender Youth and Risk of
Suicidal       Ideation,      145      Pediatrics     1,     at 5–6      (2020),
https://doi.org/10.1542/peds.2019-1725.
22
   Id. (control variable including current hormone treatment).
                                           10
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suicide in the last year, and 20% made a suicide attempt. 23 This is compared to 32%

of cisgender lesbian, gay, and bisexual youth considering suicide and 10% who made

a suicide attempt.24

      The Trevor Project’s 2023 National Survey of more than 28,000 LGBTQ

youth and young adults found that 41% of LGBTQ young people seriously

considered attempting suicide in the past year. 25 Young people who are transgender,

nonbinary, or people of color reported higher rates of suicide contemplation than

their peers. 26 Additionally, 14% of LGBTQ young people attempted suicide in the

past year, including nearly 1 in 5 transgender and nonbinary young people. 27

      The Trevor Project’s recent research published in February 2023 found that

Black transgender and non-binary young people reported nearly double the rate of

having been physically threatened or harmed compared to Black cisgender LGBQ

young people and a staggering 77% of Black transgender and non-binary young




23
   The Trevor Project, National Survey on LGBTQ Mental Health 2021,
https://www.thetrevorproject.org/wp-content/uploads/2021/05/The-Trevor-Project-
National-Survey-Results-2021.pdf.
24
   Id.
25
    The Trevor Project, National Survey on LGBTQ Mental Health 2023,
https://www.thetrevorproject.org/survey-
2023/assets/static/05_TREVOR05_2023survey.pdf [hereinafter 2023 Trevor
Project National Survey].
26
   Id.
27
   Id.
                                       11
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people reported experiencing discrimination.28 Devastatingly, one in four Black

transgender and non-binary young people reported a suicide attempt in the past

year.29     These findings demonstrate the importance of suicide prevention for

transgender and non-binary young people, and Black transgender and non-binary

young people in particular. Allowing the Health Care Ban to be enforced would

increase suicidality for these vulnerable groups and cause them irreparable harm.

                                  CONCLUSION

          For the foregoing reasons, The Trevor Project respectfully requests that

this Court affirm the District Court’s order and enjoin Defendants-Appellants from

enforcing the Health Care Ban.




28
   The Trevor Project, Research Brief: Mental Health of Black Transgender and
Nonbinary Young People, at 2 (Feb. 2023), https://www.thetrevorproject.org/wp-
content/uploads/2023/02/EMBARGOED_2.28.23_The-Trevor-Project-Research-
Brief_Black-TGNB-Youth-Mental-Health.pdf.
29
   Id. at 1.
                                       12
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Dated: December 4, 2023

                                        Respectfully submitted,

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      I hereby certify that I electronically filed the foregoing with the Clerk of the

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